                       IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF ALASKA


      METLAKATLA INDIAN COMMUNITY,
      a Federally Recognized Indian Tribe,

                   Plaintiff,

             v.
                                             Case No. 5:20-cv-00008-SLG
  MICHAEL J. DUNLEAVY, Governor of
  the State of Alaska, et al.,

                   Defendants.


                         SCHEDULING AND PLANNING ORDER

 I.       Meeting of the Parties

          Based upon information available to the Court through a Scheduling and

Planning Conference Report completed by the parties pursuant to Rules 16(a) and

26(f) of the Federal Rules of Civil Procedure and to Local Civil Rules 16.1 and 26.1(b)

(Dkt. 38), and, if one was held, the scheduling and planning conference, this order

for the pretrial development of the case is entered pursuant to Rule 16(b), Federal

Rules of Civil Procedure.

          This order may be modified only for good cause shown and with the

consent of the Court. See Rule 16(b)(4), Federal Rules of Civil Procedure.

II.       Discovery Plan

          Discovery shall be conducted in accordance with Rules 26 through 37 of the

Federal Rules of Civil Procedure, any applicable Local Civil Rules, and the discovery




             Case 5:20-cv-00008-SLG Document 39 Filed 04/07/23 Page 1 of 9
plan specified in the Scheduling and Planning Conference Report of the parties,

except as otherwise provided below.

            Timing, Form, and Disclosure Requirements. The requirements of

            Rule 26(f)(3)(A) shall apply to this case.            Any changes to those

            requirements that the Court has approved are incorporated in the

            following paragraphs, Sections II.B through II.G. Each party must

            contemporaneously prepare and maintain a written record of all

            disclosures and supplementation of disclosures or responses made to

            requests for discovery under Rule 26(a) and (e), Federal Rules of Civil

            Procedure. Unless required in support of a motion or by order of the

            Court, disclosures and supplemental disclosures are not to be filed with

            the Court.

            Initial Disclosures / Preliminary Witness Lists.

            1. The information required by Rule 26(a)(1), Federal Rules of Civil

                Procedure is waived in this case.

                (a) ☐     has been exchanged by the parties.

                (b) ☐     shall be exchanged by the parties on or before DATE.

            2. Preliminary witness lists are not required in this case.

                (a) ☐     have been exchanged by the parties.

                (b) ☐     shall be exchanged by the parties on or before DATE.



Case No. 5:20-cv-00008-SLG, Metlakatla Indian Community v. Dunleavy, et al.
Scheduling and Planning Order
Page 2 of 9
          Case 5:20-cv-00008-SLG Document 39 Filed 04/07/23 Page 2 of 9
            3. With reference to the disclosure requirements of Rule 7.1, Federal

                 Rules of Civil Procedure:

                 (a) ☐       The parties are in compliance.

                 (b) ☐       Compliance shall be accomplished on or before _________.

                 (c) ☒       Rule 7.1 is not applicable.

            Subjects and Timing of Discovery

                 The parties ☒ have / ☐ have not reported the subjects on which

                 discovery may be needed.

                 Discovery shall not be conducted in phases or limited to or focused on

                 particular issues.

            3.   The parties ☐ have / ☒ have not shown cause for a discovery close

                 date beyond 12 months from their report.

                 Final Discovery Witness List.             A final discovery witness list,

                 disclosing all lay witnesses that a party may wish to call at trial either

                 by live testimony or deposition, shall be served and filed not later than

                 October 30, 2023. Each party shall make a good-faith attempt to list

                 only those lay witnesses that the party reasonably believes will testify

                 at trial. Unless otherwise ordered for good cause shown, only those

                 lay witnesses disclosed in this final discovery witness list, and the

                 expert witnesses that were timely identified, will be permitted to testify

                 at trial.
Case No. 5:20-cv-00008-SLG, Metlakatla Indian Community v. Dunleavy, et al.
Scheduling and Planning Order
Page 3 of 9
          Case 5:20-cv-00008-SLG Document 39 Filed 04/07/23 Page 3 of 9
                Close of Fact Discovery. Fact discovery shall be completed on or

                before December 12, 2023.

                Expert Discovery. Pursuant to Rule 26(a)(2), Federal Rules of Civil

                Procedure:

                (a) Expert witnesses shall be identified by each party on or before

                     January 11, 2024, and each party may identify responsive

                     supplemental expert witnesses within 14 days thereafter.

                (b) Expert disclosures (reports) required by Rule 26(a)(2) shall be

                     disclosed:

                     (i) By all parties on or before February 12, 2024; and

                     (ii) Rebuttal reports on or before 30 days from service of the

                         report being rebutted.

                (c) Expert witness discovery (including depositions) shall be

                     completed by May 10, 2024.

            Preservation      of    Discovery,      Including     Electronically   Stored

            Information (ESI).

            1. No issues have been reported as regards disclosure, discovery, or

                preservation of ESI, including the form or format in which it should be

                produced.

            2. The parties shall proceed as they have proposed with respect to the

                production of ESI.


Case No. 5:20-cv-00008-SLG, Metlakatla Indian Community v. Dunleavy, et al.
Scheduling and Planning Order
Page 4 of 9
          Case 5:20-cv-00008-SLG Document 39 Filed 04/07/23 Page 4 of 9
             3.   Preservation of non-ESI Discovery:

                  (a) ☒    There is no indication that this will be an issue.

                  (b) ☐    The parties may proceed as they have proposed.

             Claims of Privilege or Protection of Attorney Work Product.

             Claims of privilege or protection of trial preparation materials shall be

             handled as follows:

             1. ☒    There is no indication that this will be an issue.

             2. ☐    The parties have entered into a confidentiality agreement.

             3. ☐    The parties shall submit their proposed confidentiality agreement

                     on or before __________.

       F.    Limitations on Discovery. The following limitations on discovery are

             imposed:

             1. ☒    The limitations set forth in Federal Rules of Civil Procedure 26(b),

                     30, and 33, and in Local Civil Rules 30.1 and 36.1, apply, except

                     as indicated below.

             2. ☐    The maximum number of depositions by each party shall

                     not exceed [number].

                     (a) ☐    Depositions shall not exceed [number] hours as to

                              any deponent; or

                     (b) ☐    Depositions shall not exceed the following:


Case No. 5:20-cv-00008-SLG, Metlakatla Indian Community v. Dunleavy, et al.
Scheduling and Planning Order
Page 5 of 9
            Case 5:20-cv-00008-SLG Document 39 Filed 04/07/23 Page 5 of 9
                                (1) [number] hours as to non-party deponents,

                                    and

                                (2) [number] hours as to party deponents,

                                    corporate officer deponents, Rule 30(b)(6)

                                    deponents, and expert witness deponents.

             3. ☒     The maximum number of interrogatories posed by each

                      party shall not exceed 25.

             4. ☒     The maximum number of requests for admissions posed by

                      each party shall not exceed 25.

             5. ☒     Other limitations: None.

             Supplementation of Disclosures and Discovery Responses.

             Disclosures and discovery responses shall be supplemented:

             1. ☒     In accordance with Rule 26(e)(1) and (e)(2), Federal Rules of Civil

                      Procedure.

             2. ☐     At intervals of ___ days.

III.    Pretrial Motions.

             Preliminary motions as to jurisdiction, venue, arbitration, and/or statutes

             of limitation shall be served and filed not later than:

             1. ☒     Not applicable.

             2. ☐     [Date:]



 Case No. 5:20-cv-00008-SLG, Metlakatla Indian Community v. Dunleavy, et al.
 Scheduling and Planning Order
 Page 6 of 9
           Case 5:20-cv-00008-SLG Document 39 Filed 04/07/23 Page 6 of 9
       B.    Motions to amend, motions under the discovery rules, motions in limine,

             and dispositive motions:

             1. ☒    Motions shall be served and filed within the times specified by the

                     applicable rules, including Local Rules 7.2, 7.3, and 16.1(c),

                     except as indicated below.

             2. ☒    Motions to amend pleadings, including motions to add parties,

                     shall be served and filed not later than August 14, 2023.

                     Thereafter, a party must seek leave of the Court to modify this

                     deadline. See Rule 16(b)(3)(A) and (b)(4), Federal Rules of Civil

                     Procedure.

             3. ☒    Motions under the discovery rules shall be served and filed not

                     later than May 10, 2024.

             4. ☒    Dispositive motions shall be served and filed not later than June

                     10, 2024.

             5. ☒    Motions to exclude expert testimony shall be served and filed not

                     later than June 10, 2024.

IV.    Trial.

             The parties expect the case to take 15 days for trial.

             A jury trial ☐ has / ☒ has not been demanded.

             The right to jury trial ☐ is / ☒ is not disputed.



Case No. 5:20-cv-00008-SLG, Metlakatla Indian Community v. Dunleavy, et al.
Scheduling and Planning Order
Page 7 of 9
            Case 5:20-cv-00008-SLG Document 39 Filed 04/07/23 Page 7 of 9
       D.    Scheduling Trial.

             1. ☐ The parties’ request to establish a trial date at this time:

                   (a) ☐ Is approved, and trial is scheduled to commence on

                            _____________.

                   (b) ☐ Is not approved.

                   If approved, a separate trial scheduling order will be issued.

             2. ☒ The parties did not request the scheduling of a trial date at this time.

                   Either party may request a trial setting conference at any time to

                   establish a trial date. The Court may also, on its own initiative,

                   conduct a trial setting conference after the close of discovery.

                   Otherwise, when timely filed dispositive motions have been ruled

                   upon, the Court will call upon the parties to certify the case ready

                   for trial and provide the court with proposed trial dates.

V.     Other Provisions.

             Court Conference. The parties have not requested a conference with

             the Court before entry of a scheduling order.

             Consent to Proceed before a Magistrate Judge. The parties have not

             consented to trial before a Magistrate Judge.

             Early Settlement / Alternative Dispute Resolution. The parties have

             considered and reported to the Court regarding possible alternative

             dispute resolution procedures.

Case No. 5:20-cv-00008-SLG, Metlakatla Indian Community v. Dunleavy, et al.
Scheduling and Planning Order
Page 8 of 9
            Case 5:20-cv-00008-SLG Document 39 Filed 04/07/23 Page 8 of 9
             Related Cases. The parties have reported to the Court regarding any

             related cases as defined by Local Civil Rule 16.1(e).

       E.    Chambers Copy. The parties shall provide a chambers copy for use of

             the judge of every filing that exceeds 50 pages, including attachments.

             These copies are not part of the official file in the case and are not open

             to public inspection.      If the document was filed electronically, the

             chambers copy must be an exact replica of the filed document, including

             the document footer assigned by the CM/ECF System. Exhibits shall be

             separately identified with readily visible tabs. The copies are to be legible,

             single-sided, and two-hole punched at the center of the top of the page.

       DATED this 7th day of April, 2023, at Anchorage, Alaska.

                                                 /s/ Sharon L. Gleason
                                                 UNITED STATES DISTRICT JUDGE




Case No. 5:20-cv-00008-SLG, Metlakatla Indian Community v. Dunleavy, et al.
Scheduling and Planning Order
Page 9 of 9
            Case 5:20-cv-00008-SLG Document 39 Filed 04/07/23 Page 9 of 9
